
AFTER REMAND FROM SUPREME COURT
RUSSELL, Judge.
The prior judgment of this court has been affirmed in part, reversed in part, and the cause remanded by the Supreme Court of Alabama. On remand to this court, and in compliance with the supreme court’s *476opinion of September 6, 1991, 595 So.2d 472, the judgment is now affirmed in part and reversed in part, and the cause remanded to the trial court with instructions to enter an order consistent with the supreme court’s opinion.
AFFIRMED IN PART; REVERSED IN PART; AND REMANDED WITH INSTRUCTIONS.
ROBERTSON, P.J., and THIGPEN, J„ concur.
